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 8                                     UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF WASHINGTON
 9                                              AT TACOMA
10
11     UNITED STATES OF AMERICA,
12                                                             Case No. CR06-110RSM
                                Plaintiff,
13                                                             MINUTE ORDER SETTING
                      v.                                       SETTLEMENT CONFERENCE
14     DEBORAH DOMINIQUE,
15                              Defendant.
16
17
            The following Minute Order is made by direction of the Court, the Hon. J. Kelley Arnold, United
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     States Magistrate Judge:
19
            A settlement conference will be held with the Honorable J. Kelley Arnold, U.S. Magistrate Judge,
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     at 9:00 a.m. on September 21, 2006.
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            Settlement briefs/memorandums will be due by 4:00 p.m. on September 18, 2006. The briefs are
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     to be delivered to Judge Arnold’s chambers at 1717 Pacific Avenue, Courtroom D, Tacoma, Washington
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     98402, or delivered by facsimile to 253-882-3881. They are not to be filed.
24
            Counsel and the defendant are directed to be present in person.
25
            The foregoing Minute Order entered by        /s/ Allyson P. Swan                , Deputy Clerk,
26
     this September 5, 2006.
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     MINUTE ORDER
